
277 S.E.2d 69 (1981)
302 N.C. 218
R. L. HOWELL et al.
v.
C. Page FISHER and Soil Testing Services of Carolina,. Inc. (Identical by change of name with Geotechnical Engineering Co., Inc.).
Supreme Court of North Carolina.
March 4, 1981.
Ragsdale &amp; Liggett, Manning, Fulton &amp; Skinner, Raleigh, for defendants.
Bryan, Jones &amp; Johnson, Dunn, for plaintiffs.
Petition by defendants for discretionary review under G.S. § 7A-31, 49 N.C.App. 488, 272 S.E.2d 19. Denied.
